978 F.2d 1256
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerry SINGLETARY, Plaintiff-Appellant,v.UNITED STATES of AMERICA;  Mark C. Moore, Assistant U.S.Attorney;  Bruce D. Neier, Third Year Law Student;  TeresaWoods;  Weston Houck, Judge, United States District Court;William Barr, United States Attorney General;  Lake CityPolice Department;  Samuel T. McKenzie, Police Officer,Defendants-Appellees.
    No. 92-6889.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 13, 1992
    
      Appeal from the United States District Court for the District of South Carolina, at Florence.  Joseph F. Anderson, Jr., District Judge.  (CA-92-1924)
      Jerry Singletary, Appellant Pro Se.
      D.S.C.
      Affirmed.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Jerry Singletary appeals the district court's order denying his action for relief under  Bivens v. Six Unknown Named Agents of Fed.  Bureau of Narcotics, 403 U.S. 388 (1971).  Singletary's case was referred to a magistrate judge pursuant to 28 U.S.C. § 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Singletary that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Singletary failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.   See Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir. 1985);   United States v. Schronce, 727 F.2d 91, 93-94 (4th Cir.), cert. denied, 467 U.S. 1208 (1984);   see also Thomas v. Arn, 474 U.S. 140 (1985).  Singletary has waived appellate review by failing to file objections after receiving proper notice.  We accordingly affirm the judgment of the district court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the material before this Court and argument would not aid the decisional process.
    
    AFFIRMED
    